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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 Case No.: 19-cv-61306-RAR/Becerra

  JEAN EMMANUEL PIERRE-LOUIS, et al.

            Plaintiffs,

  v.

  BAGGAGE AIRLINE GUEST
  SERVICES, INC., et al.

        Defendants.
  ___________________________________/

                              REPORT AND RECOMMENDATION 1

            THIS CAUSE came before the Court on Plaintiffs’ Motion for Order to Show Cause, Entry

  of Final Judgment, and for Attorneys’ Fees. ECF No. [320]. Defendants filed a Response in

  Opposition, ECF No. [321], and Plaintiffs filed a Reply, ECF Nos. [329], [330]. On January 5,

  2022, the Parties appeared for a hearing on this matter. ECF No. [338]. Upon due consideration

  of the Motion, the pertinent portions of the record, and being otherwise fully advised in the

  premises, it is hereby RECOMMENDED that Plaintiffs’ Motion be GRANTED IN PART AND

  DFENIED IN PART.

       I.       BACKGROUND

            This is an FLSA case that was settled on April 16, 2020. ECF No. [211]. On May 4, 2020,

  the District Court entered its Order Approving Settlement Agreement and Dismissing Case with

  Prejudice, retaining jurisdiction “to enforce the terms of the Settlement Agreement and to

  adjudicate entitlement to reasonable attorneys’ fees and costs.” ECF No. [221] at 2. On February



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   This matter was referred to the undersigned by the Honorable Rodolfo A. Ruiz, United States
  District Judge. ECF No. [322].
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  16, 2021, the District Court affirmed and adopted the undersigned’s Report and Recommendation

  on Motion for Costs, ECF No. [306], directing Plaintiffs “to prepare and submit to the Court a

  proposed Final Judgment awarding taxable costs after conferring with Defendants.” ECF No.

  [311] at 2. Thereafter, on March 2, 2021, the District Court entered its Final Judgment for Taxable

  Costs in favor of Plaintiffs for:

            Twenty-Four Thousand Five-Hundred Forty-One Dollars and 90/100 ($24,541.90)
            in costs, plus prejudgment interest at the rate of 3.58% from May 20, 2020 in the
            amount of $236.01, for a total judgment of Twenty-Four Thousand Seven-Hundred
            Seventy-Seven Dollars and 91/100 ($24,777.91). The total judgment shall bear
            interest henceforth at the rate of 3.58% as set forth in 28 U.S.C. § 1961, for which
            sum let execution issue.

  ECF No. [313] (emphasis and footnote omitted).

            On August 20, 2021, the District Court affirmed and adopted the undersigned’s Report and

  Recommendation on Plaintiffs’ Motion for Attorneys’ Fees and Non-Taxable Costs, ECF No.

  [316], again directing Plaintiffs to prepare and submit a proposed final judgment after conferring

  with Defendants. ECF No. [318] at 2.

      II.      THE INSTANT MOTION

            Plaintiffs state that they were unable to submit a proposed final judgment as required

  because Defendants “failed to confer on the form of a proposed Final Judgment for attorneys’ fees”

  and have failed to make any payments. ECF No. [320] at 1–2. As such, Plaintiffs request the entry

  of an order directing Defendants “to show cause as to why they should not be sanctioned for failing

  to confer on entry of final judgment[,] . . . entering Plaintiffs’ form final judgment[,] [and]

  awarding Plaintiffs’ attorneys’ fees in the amount of $770.00 . . . .” Id. at 7.

            Defendants filed a Response stating that despite the District Court’s August 20, 2021 Order

  requiring conferral, Plaintiffs’ first conferral attempt was not until November 1, 2021. ECF No.

  [321] at 1. As such, Defendants argue that their two-and-a-half-week delay in responding to


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  Plaintiffs’ protracted attempts to confer is not as egregious as Plaintiffs suggest. Id. at 3. In

  addition, Defendants argue that Plaintiffs are not entitled to any pre-judgment interest and that if

  any post-judgment interest is imposed, it should be set at 0.15%, the Treasury yield promulgated

  by the Federal Reserve on the date the instant Motion was filed. Id. at 3–5.

            Subsequently, Plaintiffs filed a Reply. ECF Nos. [329], [330]. Therein, Plaintiffs argue

  that they are entitled to pre-judgment interest under Florida law and federal law. ECF No. [330]

  at 4. However, Plaintiffs state that they no longer seek an interest rate of 3.58% as was previously

  agreed for the Final Judgment on Taxable Costs. Id. at 4 n.2. Instead, they now seek the higher

  rate permitted under Florida law of 6.66% and 4.81% per annum. Id. at 7.

     III.       ANALYSIS

            To be clear, the issues before the Court are not difficult, are not the subject of any unclear

  legal precedent, and should not have led to any further litigation. Regrettably, the filings after the

  Court determined the attorneys’ fees amount are entirely consistent with the overly litigious and

  unnecessarily contentious manner in which counsel for the Parties have handled this case.

  Hopefully, this will be the end of it.

            There are only three issues before the Court. The first issue is whether an order awarding

  attorneys’ fees in an FLSA case is subject to pre-judgment and post-judgment interest. Defendants

  argue that pre-judgment interest is not recoverable on FLSA judgments awarding damages to a

  plaintiff, and that this includes judgments awarding attorneys’ fees.           ECF No. [321] at 4.

  Defendants, however, have not provided any authority in support of this contention, nor could

  they. Courts in this District routinely award pre-judgment and post-judgment interest on attorneys’

  fees judgments in FLSA cases. See Final Judgment, Toro v. Magnum Construction Services, Inc.,

  No. 19-cv-62672-RS (S.D. Fla. Dec. 28, 2020), ECF No. [58] (entering judgment for attorneys’



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  fees and costs “with interest at the statutory rate from the date of [the] judgment”); Final Judgment,

  Valley v. Ocean Sky Limo, No. 14-cv-80816-RLR (S.D. Fla. Feb. 2, 2015), ECF No. [35] (awarding

  attorneys’ fees and costs plus pre-judgment and post-judgment interest in accordance with 28

  U.S.C. § 1961).

          Moreover, in this case, Defendants agreed to pre-judgment and post-judgment interest on

  the costs that were previously awarded to Plaintiffs. The same logic would have applied to the

  costs award and Defendants’ argument at the hearing that they did object to interests for the costs

  because the amounts at issue were small is unconvincing given that every issue that could and

  could not have been litigated in this case was in fact litigated. There is simply no merit to the

  argument that the FLSA or any other statute limits the Court’s discretion to award interest on this

  attorneys’ fees award. As such, it is within the Court’s discretion to award interest here. See

  Werner Enters., Inc. v. Westwind Mar. Intern., Inc., 554 F.3d 1319, 1328 (11th Cir. 2009) (noting

  that the award of pre-judgment and post-judgment interest is to be determined by federal courts

  within their discretion). The Court sees no reason why pre-judgment and post-judgment interest

  should not be awarded, and Defendants’ only argument, that they are barred in FLSA cases, has

  no legal basis, and is rejected.

          Having determined that Plaintiffs are entitled to pre-judgment and post-judgment interest

  on a final judgment for attorneys’ fees, the Court next considers the dates during which interest

  would accrue. Plaintiffs submit that they should be awarded pre-judgment interest since May 4,

  2020, the date the District Court approved the Settlement Agreement in this case. ECF No. [320-

  2] at 2. In addition, Plaintiffs request that post-judgment interest be awarded from the date the

  final judgment on attorneys’ fees is entered. Id. At the hearing, Defendants argued that approval

  of the Settlement Agreement did not establish entitlement to attorneys’ fees, and as such, pre-



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  judgment interest could not have accrued until the District Court entered its August 20, 2021 Order

  establishing the amount of fees. Defendants further argued that, following the August 20, 2021

  Order, Plaintiff made no attempt to confer regarding the proposed final judgment until November

  1, 2021, and as a result, interest should not be awarded for that period. ECF No. [321] at 1. At

  the hearing, Plaintiffs’ counsel conceded that he made no attempt to confer with Defendants from

  August 20, 2021 through November 1, 2021 and agreed that interest should not be awarded for

  this period.

          The Settlement Agreement in this case specifically provides that “Plaintiffs are the

  prevailing parties in the Action under Count I (FLSA) and Count II (Breach of Contract) for

  purposes of entitlement to attorneys’ fees and costs . . . .” ECF No. [215-2] at 2. Thus, when the

  Settlement Agreement was approved in May 2020, the issue of entitlement to attorneys’ fees was

  determined. Although Defendants may have argued that Plaintiffs were entitled to zero dollars in

  attorneys’ fees, entitlement was not at issue, only the amount was at issue. As such, pre-judgment

  interest begins to run from the date of the entitlement, not the date where the Court determined the

  amount. See Mariposa Associates, Ltd. v. Regions Bank, No. 13-23838-CIV, 2018 WL 4208251,

  at *1 (S.D. Fla. July 26, 2018) (concluding that pre-judgment interest on attorneys’ fees accrues

  from the date of the order determining entitlement, not the date of the order determining the amount

  of fees to be awarded).

         In its Final Judgment for Taxable Costs, the District Court determined that pre-judgment

  interest was to run from May 20, 2020. See ECF No. [313]. The undersigned sees no reason to

  deviate from this determination, and therefore finds that pre-judgment interest as to attorneys’ fees

  should also run from May 20, 2020. However, as Plaintiffs’ counsel conceded, pre-judgment

  interest should not be awarded for the period between August 20, 2021 and November 1, 2021



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  because Plaintiffs’ counsel made no effort during this period to confer with Defendants regarding

  the proposed final judgment requested by the District Court. In addition, the Court concludes that

  post-judgment interest should be awarded from the date the final judgement on attorneys’ fees is

  entered. See Martinec v. Party Line Cruise Co., 350 Fed. Appx. 406, 408 (11th Cir. 2009) (“It is

  appropriate to impose post-judgment interest on awards of attorneys’ fees and costs in an FLSA

  case.”).

             The final issue before the Court is the rate at which pre-judgment and post-judgment

  interest should be set. Plaintiffs initially requested that pre-judgment and post-judgment interest

  be awarded at the rate of 3.58% because the Parties previously agreed to this rate for the purposes

  of costs. ECF No. [330] at 10–11. At the hearing, Plaintiffs’ counsel stated that the number was

  simply the rough midpoint between the rate set by the state of Florida and the rate set for federal

  judgments by the Unites States Treasury. In the Reply, however, Plaintiff states that it no longer

  seeks the 3.58% rate, rather it seeks the Florida rate of 6.66% and 4.81% per annum. Id. at 7.

  Defendants argue that the Court should impose a rate of 0.15%, which is the rate authorized by 28

  U.S.C.§ 1961. ECF No. [321] at 4–5. Because the interest rates can be set within the Court’s

  discretion, the undersigned finds that the previously agreed-upon rate of 3.58% is the appropriate

  rate for both pre-judgment and post-judgment interest. Plaintiffs’ Reply seeking more than they

  originally requested is unfortunately typical of the unnecessary and contentious tactics often

  employed in this case. Indeed, the full Florida rate is not reasonable given that Plaintiffs already

  agreed to a lesser rate for the costs in this case, and that the issues before the Court were largely

  based on federal law. The length of time this has taken, which Plaintiffs’ counsel cited as a basis

  for a higher rate, is as much of counsels’ making as anything else. As such, affording them the

  higher rate to account for additional inflation is not necessary.



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         In sum, it is hereby RECOMMENDED that Plaintiffs’ Motion, ECF No. [320], be

  GRANTED IN PART AND DENIED IN PART. A final judgment for attorneys’ fees should

  be entered in Plaintiffs’ favor in the amount of $140,683.08. Pre-judgment interest should be

  imposed at the rate of 3.58% from May 20, 2020 through the date of the judgment on attorneys’

  fees, except for the period between August 20, 2021 through November 1, 2021. In addition, post-

  judgment interest should be imposed from the date of the judgment on attorneys’ fees at the rate

  of 3.58%.

         Because the undersigned finds that both Parties are, again, responsible for this unnecessary

  briefing on a routine and ministerial issue, Plaintiffs’ request for an order to show cause and for

  the attorneys’ fees incurred in connection with the instant Motion should be DENIED. Finally,

  Plaintiffs’ subsequent Expedited Motion for Separate Judgments for Principal and Prejudgment

  Interest, Inclusion of Orders Directing Completion of Fact Information Sheets, and to Strike

  Defendants’ Notice of Filing, ECF No. [335], should be DENIED AS MOOT. Here, again, this

  motion (filed on Christmas Eve) seeking additional and expedited briefing (to take place over

  another holiday) on a routine and ministerial issue was entirely unnecessary and merited no

  response or further discussion.

         A party shall serve and file written objections, if any, to this Report and Recommendation

  with the District Judge by close of business on Friday, January 7, 2022. Failure to timely file

  objections will bar a de novo determination by the District Judge of anything in this

  Recommendation and shall constitute a waiver of a party’s “right to challenge on appeal the

  District Court’s order based on unobjected-to factual and legal conclusions.” 11th Cir. R. 3-1

  (2016); 28 U.S.C. § 636(b)(1)(C); see also Harrigan v. Metro-Dade Police Dep’t Station #4, 977

  F.3d 1185, 1191–92 (11th Cir. 2020). The Court finds that the shortened period for objections is



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  appropriate given that a hearing was already held on this issue, the matter in any event is up to the

  discretion of the Court, and the interests of justice (and the Parties) are best served by a final

  resolution of this case as soon as is possible.

         DONE AND SUBMITTED in Chambers at Miami, Florida, on January 6, 2022.



                                                    ______________________________
                                                    JACQUELINE BECERRA
                                                    UNITED STATES MAGISTRATE JUDGE




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